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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                Senior Judge Walker D. Miller


  Civil Action No. 08-cv-00387-WDM-KMT

  DENNIS O’NEIL,

          Petitioner,

  v.

  PARK COUNTY COURT,
  STATE OF COLORADO, and
  JOHN SUTHERS, ATTORNEY GENERAL OF THE STATE OF COLORADO,

          Respondents.


               ORDER ON APPLICATION FOR WRIT OF HABEAS CORPUS

  Miller, J.

          This case is before me on the Amended Application for a Writ of Habeas Corpus

  Pursuant to 28 U.S.C. § 2254 (doc no 15) (“Petition”). Respondents oppose the Petition.

  After reviewing the pertinent portions of the record in this case including the Petition, the

  Answer, the Reply, and the state court record, I conclude that the Petition should be

  denied.

                                          Background

          On April 13, 2007, Defendant was found guilty of driving while ability impaired and

  weaving after a jury trial in the County Court for Park County, Colorado. He appealed the

  verdict to the district court, then filed a petition for writ of certiorari with the Colorado

  Supreme Court, which was denied. Petitioner’s claims of error come from the trial court’s

  refusal to permit Petitioner to introduce evidence relating to alleged bias or untruthfulness
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  on the part of the arresting officer.

         Defendant was arrested on July 15, 2006 by Deputy Jennifer Plutt of the Park

  County Sheriff’s Office. On December 27, 2006, Park County Court Judge Stanley

  Mayhew conducted a hearing on Petitioner’s motion to suppress evidence, which was

  based on Petitioner’s contention that Deputy Plutt did not have reasonable suspicion to

  justify stopping him. Judge Mayhew denied the motion and found that the deputy had

  reasonable suspicion to stop Petitioner for weaving. At that hearing, Judge Mayhew denied

  Petitioner’s motion to introduce evidence from five drivers who claimed to have been

  stopped by Deputy Plutt without justification on other occasions. On February 12, 2007,

  District Court Judge Charles Barton conducted a hearing on Petitioner’s Notice of Intent

  to Introduce Other Transactions and the People’s Motion in Limine to Preclude Defense

  Evidence of Arrest Officers Character or Conduct, which related to evidence from the same

  drivers. Judge Barton thereafter issued his findings and order on the issues.

         According to Judge Barton’s order, the proffered evidence would show that one

  proposed witness was arrested and charged and acquitted; another proposed witness was

  arrested and charged but the case dismissed for procedural problems; the final three

  proposed witnesses were neither arrested nor charged. All disagreed that the deputy had

  reasonable suspicion to stop them. As explained by Judge Barton, Petitioner’s argument

  “is that evidence of other traffic stops which the witnesses will contend were without legal

  justification would tend to show that Deputy Plutt would be untruthful in her expected

  testimony that defendant was weaving, an indicia of intoxication” and that the other acts

  could show that Deputy Plutt had a plan. Findings and Order, Exh. D to Respondents’

  Answer to Show Cause (doc no 19-5). Judge Barton ruled that the proposed evidence was

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  of marginal relevance and of little value to jurors. The court also determined that the result

  would be trials within a trial on whether the deputy’s version or the witnesses’ version of the

  stops were true, creating distraction and unduly expanding the scope of issues for trial. In

  addition, Judge Barton ruled that there was insufficient commonality to show that there was

  a plan on the part of Deputy Plutt.

         On appeal, District Court Judge Stephen A. Groome concurred with Judge Barton’s

  analysis and conclusion. Noting that “[m]ere allegations of prior wrongful traffic stops does

  not equate to ‘prior similar acts,’” Judge Groome determined that the trial court had properly

  exercised discretion and balancing of the conflicting considerations raised by Petitioner’s

  argument. Ruling on Appeal to the District Court, Exh. D to Respondents’ Answer to Show

  Cause (doc no 19-5).       Judge Groome also determined that the evidence was not

  sufficiently probative of bias to justify its admission.

         In his Petition, Petitioner asserts three claims: (1) the County Court violated

  Petitioner’s right to confront his accusers when it prevented him from inquiring into the

  modus operandi of Deputy Plutt; (2) the County Court violated Petitioner’s right to a fair trial

  and right to confront adverse witnesses when it prevented Petitioner from inquiring into

  Deputy Plutt’s alleged bias; and (3) the County Court denied Petitioner a meaningful

  suppression hearing by refusing to consider evidence bearing on the credibility of Deputy

  Plutt, in violation of due process.

                                        Standard of Review

         In general, federal habeas corpus relief may not be granted unless it appears that

  the applicant has exhausted the remedies available in the state courts. 28 U.S.C. §

  2254(b). A claim has been exhausted when it has been “fairly presented” to the state court.

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  Picard v. Connor, 404 U.S. 270, 275 (1971). “Fair presentation” requires more than

  presenting “all the facts necessary to support the federal claim” to the state court or

  articulating a “somewhat similar state-law claim.” Anderson v. Harless, 459 U.S. 4, 6

  (1982) (per curiam). “Fair presentation” means that the petitioner has raised the

  “substance” of the federal claim in state court. Picard, 404 U.S. at 278.

         Assuming the claims have been exhausted, or the requirement of exhaustion is

  excused, I then turn to the merits of the issues raised in the Petition.         Because

  Petitioner filed his Petition after April 24, 1996, the effective date of the Antiterrorism and

  Effective Death Penalty Act of 1996 (the “AEDPA”), that statute governs my review.

  Cannon v. Mullin, 383 F.3d 1152, 1158 (10th Cir. 2004) (citing Rogers v. Gibson, 173 F.3d

  1278, 1282 n. 1 (10th Cir. 1999)). Under the AEDPA, a district court may only consider a

  habeas petition when the petitioner argues that he is “in custody in violation of the

  Constitution or laws or treaties of the United States.” 28 U.S.C. § 2254(a).

         Title 28 U.S.C. § 2254(d) provides that a writ of habeas corpus may not be issued

  with respect to any claim that was adjudicated on the merits in state court unless the state

  court adjudication:

                (1) resulted in a decision that was contrary to, or involved an
                unreasonable application of, clearly established Federal law, as
                determined by the Supreme Court of the United States; or

                (2) resulted in a decision that was based on an unreasonable
                determination of the facts in light of the evidence presented in
                the State court proceeding.

  28 U.S.C. § 2254(d).

         If a clearly established rule of federal law is implicated, I must determine whether the

  state court’s decision was contrary to or an unreasonable application of that clearly

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  established rule of federal law. See Williams v. Taylor, 529 U.S. 362, 404-05 (2000).

                        A state-court decision is contrary to clearly established
                federal law if: (a) “the state court applies a rule that contradicts
                the governing law set forth in Supreme Court cases”; or (b) “the
                state court confronts a set of facts that are materially
                indistinguishable from a decision of the Supreme Court and
                nevertheless arrives at a result different from [that] precedent.”
                Maynard [v. Boone], 468 F.3d [665,] 669 [(10th Cir. 2006)]
                (internal quotation marks and brackets omitted) (quoting
                Williams, 529 U.S. at 405). “The word ‘contrary’ is commonly
                understood to mean ‘diametrically different,’ ‘opposite in
                character or nature,’ or ‘mutually opposed.’” Williams, 529 U.S.
                at 405 (citation omitted).

                       A state court decision involves an unreasonable
                application of clearly established federal law when it identifies
                the correct governing legal rule from Supreme Court cases, but
                unreasonably applies it to the facts.           Id. at 407-08.
                Additionally, we have recognized that an unreasonable
                application may occur if the state court either unreasonably
                extends, or unreasonably refuses to extend, a legal principle
                from Supreme Court precedent to a new context where it
                should apply.

  House v. Hatch, 527 F.3d 1010, 1018 (2008).

         Finally, I “owe deference to the state court’s result, even if its reasoning is not

  expressly stated.” Aycox v. Lytle, 196 F.3d 1174, 1177 (10th Cir. 1999). Therefore, I “must

  uphold the state court’s summary decision unless [my] independent review of the record

  and pertinent federal law persuades [me] that its result contravenes or unreasonably

  applies clearly established federal law, or is based on an unreasonable determination of

  the facts in light of the evidence presented.” Id. at 1178. “[T]his ‘independent review’

  should be distinguished from a full de novo review of the petitioner’s claims.” Id.




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                                           Discussion

         The government argues that Petitioner’s first claim is not exhausted because it was

  never fairly presented to the state courts as a federal constitutional or statutory issue.

  Rather, Petitioner presented the issue solely in reliance on Colorado Rule of Evidence

  404(b). I agree. My review of the record indicates that Petitioner did not identify any

  federal issue in his briefs in connection with this claim.

         The government concedes that Petitioner’s second claim was raised as a Sixth

  Amendment issue to the district court but not in his petition for certiorari. I disagree;

  Petitioner’s petition for certiorari contains a reference to the Sixth Amendment in connection

  with his argument concerning Deputy Plutt’s alleged bias. The government does not

  dispute that Petitioner’s third claim is exhausted. Accordingly, I will consider Petitioner’s

  second and third claims on the merits.

         The basis of the second claim is Petitioner’s assertion that on cross examination,

  his counsel asked Deputy Plutt whether she had ever stopped any cars without probable

  cause; she replied “never.” Petitioner asserts that he should have been permitted to

  introduce the evidence of his witnesses, who disagreed that the deputy had probable cause

  to pull them over in unrelated incidents. As noted by the government, the United States

  Supreme Court has held that trial courts retain discretion to impose limits on cross-

  examination based on the relevance of the inquiry, harassment, prejudice, and confusion

  of the issues. Delaware v. Van Arsdall 475 U.S. 673, 679 (1986); Delaware v. Fensterer,

  474 U.S. 15, 20 (1985) (per curiam) (“the Confrontation Clause guarantees an opportunity

  for effective cross-examination, not cross-examination that is effective in whatever way, and

  to whatever extent, the defense might wish.”) (emphasis in original).

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         The analyses of the state courts did not result in a decision that was contrary to, or

  involved an unreasonable application of, clearly established Federal law and did not result

  in a decision that was based on an unreasonable determination of the facts in light of the

  evidence presented in those proceedings. The issue to be determined was whether Deputy

  Plutt had observed Petitioner’s car weaving, which ultimately rested on a credibility

  determination of Deputy Plutt and Petitioner. I agree with the state courts that evidence

  that other drivers disagreed with the reasons for Deputy Plutt’s actions, or that the stops

  had not resulted in arrests, was of marginal relevance. Petitioner’s evidence does not

  establish unequivocally that the other drivers were not weaving or that Deputy Plutt had

  testified falsely in the past.     Therefore, the jury would have to make numerous

  subdeterminations of whether the previous incidents did or did not demonstrate a stop

  without probable cause, a difficult or impossible task under the circumstances and which

  would again involve the same credibility judgments that the jury was capable of making

  without such evidence. This would have plainly confused the issues and prolonged the

  trial. Given the broad discretion granted to trial courts in limiting cross examination under

  such circumstances, I cannot conclude that the actions of the state courts were

  unreasonable.

         Similarly, Petitioner’s third claim relates to the refusal of Judge Mayhew to permit

  the same evidence at the suppression hearing. Again, the main issue there was the

  credibility of Deputy Plutt and of Petitioner; Petitioner contended he was not weaving,

  Deputy Plutt testified that he was. As noted above, the fact that she previously pulled over

  other drivers for weaving is of little probative value in evaluating the evidence in Petitioner’s

  case. Under the circumstances, I conclude that the state courts did not unreasonably

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  determine that Petitioner’s due process rights were adequately protected in his suppression

  hearing.

         Accordingly, it is ordered:

         1.     The Amended Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C.

                § 2254 (doc no 15) is denied.

         DATED at Denver, Colorado, on May 12, 2009.

                                                    BY THE COURT:



                                                    s/ Walker D. Miller
                                                    United States Senior District Judge




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